     Case 2:12-cv-03108-TOR   ECF No. 117-1     filed 10/03/14   PageID.2979 Page 1 of 6




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27                          UNITED STATES DISTRICT COURT
28                         EASTERN DISTRICT OF WASHINGTON
29
30      ROGELIO MONTES and MATEO
31      ARTEAGA,                                  NO. 12-CV-3108 TOR
32
33                        Plaintiffs,             [PROPOSED] FINAL JUDGMENT
34
35             v.
36      CITY OF YAKIMA, MICAH
37
38
        CAWLEY, in his official capacity as
39      Mayor of Yakima, and MAUREEN
40      ADKISON, SARA BRISTOL,
41      KATHY COFFEY, RICK ENSEY,
42      DAVE ETTL, and BILL LOVER, in
43      their official capacity as members of
44
45
        the Yakima City Council,
46                           Defendants.
47


                                                                           Perkins Coie LLP
           [PROPOSED] FINAL JUDGMENT                                 1201 Third Avenue, Suite 4900
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 1              Pursuant to the Court’s Order filed August 22, 2014, and upon
 2
 3      consideration of the parties’ proposed forms of injunction and remedial plans,
 4
 5      the Court issues judgment as follows:
 6
 7              1.         The City of Yakima’s current at-large method of electing
 8
 9      members to the City Council violates Section 2 of the Voting Rights Act for
10
11      the reasons set out at length in the Court’s Order dated August 22, 2014.
12
13              2.         The City of Yakima is permanently enjoined from administering,
14
15      implementing or conducting any future elections for the Yakima City Council
16
17      in which members of the City Council are elected on an at-large basis, whether
18
19      in a primary, general, or special election.
20
21              3.         Beginning with the elections for the Yakima City Council to be
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23      held in 2015, and including the August 4, 2015, primary election and the
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25      November 3, 2015, general election, all elections for the Yakima City Council
26
27      will be conducted using a system in which each of the seven members of the
28
29      City Council is elected from a single-member district. Each councilmember
30
31      must reside in his or her district, and only residents of a given district may vote
32
33      for the councilmember position for that district.
34
35              4.         The Court hereby adopts, as a remedy for the Section 2 violation,
36
37      Plaintiffs’ proposed Illustrative Plan 1. Maps and tables showing the
38
39      boundaries of the new seven single-member districts and their populations are
40
41      attached as Exhibit A.
42
43              5.         The boundaries of the single-member districts reflected in
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45      Illustrative Plan 1 are reasonably compact and are not in derogation of
46
47      traditional redistricting principles. The total population deviation among

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 1      districts is 6.33%, and therefore the districts comply with the one person, one
 2
 3      vote requirement of federal law. Reynolds v. Simms, 377 U.S. 533 (1964).
 4
 5              6.         Defendants shall take all steps necessary to implement the seven
 6
 7      single-member district plan attached as Exhibit A in order to allow district-
 8
 9      based elections to proceed in 2015 and thereafter, provided, however, that the
10
11      City of Yakima may revise those districts based on annexations, deannexations,
12
13      and population changes reflected in the decennial census and at appropriate
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15      times in the future when necessary to conform to state and federal law.
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17              7.         In order to preserve the current staggered election plan for
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19      members of the City Council, the odd numbered districts will be set for a four-
20
21      year election cycle and the even numbered districts will be set initially for a
22
23      two-year term and thereafter for a four-year election cycle.
24
25              8.         This judgment is binding upon all parties and their successors.
26
27      Future redistricting shall be done in a manner that complies with the terms and
28
29      intent of this Judgment and the Court’s August 22, 2014 Order, continues to
30
31      provide for single-member districts, and complies with Section 2 of the Voting
32
33      Rights Act.
34
35              9.         Any requests by Plaintiffs for costs and fees shall be further
36
37      determined by the Court in accordance with Fed. R. Civ. P. 54(d).
38
39
40
41              DATED this _____ day of October, 2014.
42
43
44
45                                                           United States District Judge
46                                                           Thomas O. Rice
47


                                                                                 Perkins Coie LLP
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 1                               CERTIFICATE OF SERVICE
 2
 3
 4              I certify that on October 3, 2014, I electronically filed the foregoing
 5
 6
 7      [Proposed] Final Judgment using the CM/ECF system, which will send
 8
 9
10
        notification of such filing to the following attorney(s) of record:
11
12
13
14
15      Francis S. Floyd WSBA 10642              Counsel for            VIA CM/ECF
16      John Safarli WSBA 44056                  Defendants           SYSTEM
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22
        (206) 441-4455                                                  VIA EMAIL
23      ffloyd@floyd-ringer.com
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25
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28
                I certify under penalty of perjury that the foregoing is true and correct.
29
30
31
32      DATED: October 3, 2014                     PERKINS COIE LLP
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35                                                 s/Abha Khanna
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